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                United SlalesofAnlerica
                             NJ.
                                                                      Case No. 21-6270-5*0W
                    CLEON KIRLEW .




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                                                    IINA.
                                                        L COM PLAINT
         l-'
           tl1e colnplainantin thiscase. slate thattlle lbllowing istrtleto the bestofnly knt
                                                                                            lwletlge and belief.
On oraboutthedatesof                  8/1/2021-8/3/2021              in tllecottnlies ol-                Broward            in thc
    S,put
        hqm.         Districlof          Florida          .lllc'detkndantls)violated:
            CodeSec/l
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                    fpll                                                OjïlntseDt?-
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                                                                                      #a/l
                                                                                         'cvl
18
 . U.S.C.51.
           591(a)(1),(b)(1),(c),                                       SexTraffickingofaMinor
and 2-




         Thiscrilninalconlplailltisbased on these facts:

See attached Affidavit.



         W'Continuedontheattachedsheet.

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                                                                                  AlexG.Loff,SpeciakAgent. FBI
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Sworn to befbre metelephonically.

                DATE: April28, 2021


City and state:                FortLauderdale, Flbrida                   Lurana S.SnowsUnited States Magistrate Judge
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                   AFFIDA VIT IN SU PPO RT O F CRIM INA L COM PLA IN T

          1,A lex G .Loff,being firstduly sw orn,hereby depose and state asfollow s:

                        INTR OD UCTIO N AND A G EN T BA CK G RO UN D

                 Iam aSpecialAgentwiththeFederalBureau ofInvestigation ((FB1''),andhave
   been so em ployed since M arch 2018. Thus,Iam an investigative or law enforcem entofficer of

   theUnitedStateswithinthemeaningofSection2510(7)ofTitle18,UnitedStatesCode.Thatis,
   Iam an officer ofthe United States w ho is empow ered by 1aw to conduct investigations of, and

   m ake arrests for,violations offederallaw ,including the offensesenum erated in Title 18, United

   StatesCode,Sections l591,2422,2423,2251,and 2252,etseq.

                 l currently serve aspartof the Crim es AgainstChildren group and the FB1Child

   Exploitation Task Force in the FB 1's M iam iField O ffice.M y duties include the investigation of

   crim es involving the sexualexploitation ofm inors, including the sex trafficking and comm ercial

   trafficking of m inors and the possession and production ofchild pornography. 1 have received

   training on the proper investigative techniques for these violations, including the use of

   surveillance techniques,undercover activities,and the application and execution of arrest and

   search w arrants.1 have conducted and assisted in severalchild exploitation investigations, and

   have executed search w arrants that have led to seizures of child pornography and undercover

   operationstorecoverjuvenilevictimsofsextrafûcking.
                 This Affidavit is subm itted in supportof a crim inal complaint charging Cleon

   Kirlew (hereinafter,(CKTRTUEW '')with one countofsex trafficking ofaminorlessthan 14
   yearsofage,inviolationofTitle18,UnitedStatesCode,Sections1591(a)(1),(b)(1),(c),and2.
   As explained below ,there is probable cause to believe that,from on or aboutA ugust 1, 2020

  through on or about August 3,2020,in Brow ard County, in the Southern D istrict of Florida,
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   KIRLEW , did know ingly, in and affeoting interstate and foreign com merce, recruit, entice,

   harbor,transporq provide,obtain,m aintain,solicit,and patronize by any m eansa person, thatis,

   M inor Victim , know ing, in reckless disregard of the fact, and having had a reasonable

   opportunity to obsel've M inorV ictim ,thatM inorV ictim had notattained the age of 14 years and

   w ould be caused to engage in a com m ercialsex act.

                    This Affidavit is based upon m y personal know ledge, as w ell as inform ation

   learned from other law enforcem ent agents, investigators, w itnesses, and documents. This

   Afisdavitissubm itted forthe lim ited purpose ofestablishing probable cause;assuch, itdoesnot

   includeeachand everyfad knowntothegovernmentaboutthisinvestigation.

                                             PR O BABLE CAUSE

           M IN OR V ICTIM

                    On or aboutAugust 12,2020,members ofthe Child Exploitation and Hum an

   Traffcking Task Force (CSCEHTTF'') responded to a hospitallocated in Tamarac,torthe
   recovery of an 1l-year-old female (tsM inor Victim''),who was reported missing to law
   enforcem entby herfam ily.

           6.      M inor Victim w as interviewed on three separate occasions. During her

   interviews,M inorVictim stated thatwhileshewasawayfrom herfam ily,shemd an individual

   by the nam e oftiN ick,''who she engaged in sexualactivity w ith. çsN ick''told M inorV ictim that

   he could introduce herto çipum pkin,''who was som eone thatcould help M inorV ictim m ake çça

   lot''ofm oney.Gçpum pkin''was lateridentifed by law enforcem entas Shanteria Barnes. l



   'OnJanuary2s,2021,BarneswasindictedbyafederalgrandjurysittingintheSouthernDistrictofFlorida,with
   two countsofsex trafficking a m inor- oneofwhich istheM inorV ictim in the instantcrim inalcom plaint. See21-
   CR-60039-AHS.

                                                        2
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                   On or about A ugust 1,2020,S4N ick''took M inor Victim to m eet $<M oe'' later

      identified by law enforcem entasK IRI,EW .çiN ick''and K IRLEW then took M inorV ictim to a

   Dayslnn hotellocated in Oakland Park,Florida (ddoaklandDays1nn''),whereupon KIRI,EW
  '
   rented a hotelroom .KIRLEW told M inorVictim thatifshe would have sex w ith him , he would

   pay forM inor Victim to getherhairand nails done while atthe Oakland Days Inn. M inor

   V ictim stated thatshe complied and had sex with K IRT,EW .M inor Victim described KIRLEW

   as ashorq black m alew ith partialdreadlocks.

                   M inor V ictim stated that she stayed atthe Oakland D ays 1nn for three nights

   w ith K IRLEW , during which K IRLEW w as present during this tim e. W hile staying at the

   Oakland D ays 1nn w ith KIRI,EW ,K IRI,EW had sex w ith M inor V ictim approxim ately four

   tim es.Each tim e,K IRLEW w ould persuade M inor Victim to have sex w ith him by asking her

   aboutthe different gifts that she m ight w ant.M inor V ictim stated that,in exchange for sex,

   KIRLEW gave her m oney,paid for M inor V ictim to get her hair and nails done, and also

   purchased clothes forher.

            9.     M inor V ictim recalled that on one occasion, w hen K IRI,EW w ent to get her

   GT ILA '' shoes, she asked K IRI,
                                   E W if she could accom pany him to the m all. KIRIEW

   responded thatshewasnotallowed to go with him tothemallin theeventthatsomeone found

   outhow old M inorV ictim w as.

                   M inor V ictim additionally stated thatwhen she w asw ith K IRLEW ,he instructed

   herto tellpeople she w as 19 yearsold.

                   W hile staying atthe Oakland Dayslnn,M inorV ictim had sex w ith otherm en in

   thehotelroom,some ofwhich werearranged by KIRLEW ,and received money from some of

   these m en in exchange for the sex. M inor V ictim stated that on one occasion,K IRLEW 'S

                                                   3
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   brotheroam eto the hotelroom ,and had sex with herin exchange for$40.W hen KIRLEW 'S
   brotherleft M inorVictim observed him walk downstairsandmeetwith ççN ick,''K IRLEW ,and

   Barnes,who w ere w aiting forhim .

          12.    M inor V ictim stated thatthe second nightatthe Oakland days lnn, Ss
                                                                                    N ick''and
   K IRLEW threw a party in the hotelroom .M inor V ictim stated that, during the party,she was

   watching ççlessie''on the Disney Channeland a m ale friend of(W ick''asked M inorVictim how

   old shewas.M inorVictim saidshewas 12yearsold,butthen said shewas17 yearsold. M inor

   V ictim stated thatK IRLEW leftthe hotelroom and said to her, çtby the tim e I get back,you

   betterbe sucking his dick.''

                 M inor V ictim advised that K IRI-EW alw ays carried a black sem i-autom atic

   Grearm on him .M inor Victim stated that because of the firearm , she often felt scared to say

   dino''to K IRLEW .

                 M inor V ictim stated that after K IRLEW had sex w ith her the isrst tim e,

   K IRLEW called Barnes and told herto com e to the Oakland D aysInn.W hen Barnes arrived at

   the Oakland D ayslnn,she wasaccom panied by two girls, later identifed as M inor2 and M inor

   3.M inor Victim stated thatM inor 2 and M inor 3 did her hair,w hich KIRLEW paid M inor3
                                                      ,



   $120for.
                 M inor V ictim stated that Barnes introduced herself to M inor V ictim as

   Gçpumpkin'' and asked M inor V ictim to dance for her to see if M inor V ictim knew how to.

   W hen M inor V ictim was able to dance and do a split,Barnes w as im pressed and told M inor

   Victim thatshe would pay her$60 to strip atBarnes'aunt'sbirthday.Barnesalso told M inor
   Victim ,çtoh bitch,lgotm oney cause 1 fuck,''and show ed M inorV ictim videos and pictures of

   people w ith w ads of cash in orderto show M inor Victim how m uch m oney she could m ake
                                                 4
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   engaging in com m ercialsex acts.

          16.     M inor V ictim stated that Barnes w ould arrange %çdates'' for both herself and

   M inor V ictim to engage in com m ercialsex.Barnes had the ççdates''com e to Barnes'house so

   that she could disouss the term s of the Ktdate.''On one occasion,Bam es instruoted the m en

   which hotelthey would be meeting at,told them whetherM inorVictim would be stripping for

   them ,and how m uch itwould cost.

                  W hen the m en w ould arrive atBarnes'house forthe Etdate,''Barnesw ould drive

   M inorVictim in atw o-door silvervehicle,with the m en follow ing behind in their ow n vehicle,

   tothenearbyTravelodgeHotellocated in Pompano Beach(tsTravelodge'')forthetddate.''The
   m en would be the one to rentthe hotelroom s.A ttim es,both Barnes and M inorV ictim would

   be in separate room s on Itdates,''while other tim es,Bam es and M inor V ictim w ould share a

   room during the (tdates.''

                  On theseS'dates,''Barnestold M inorViotim notto acceptanything lessthan $40
   to engage in sexualactivities.M inorVictim stated thatfor$30,shewould strip fortheçldates,''
   andstartingat$40,shewould havesex withthemen.
                 M inor V ictim stated that she w as w ith Barnes, engaging in sexual acts for

   money,for approxim ately fourdays and made approximately $150 per day.During the first
   interview ,M inor Victim advised thaton one occasion,she had approxim ately 10 çidates''in one

   day,and during the course of herstay atthe hotels with B arnes,she engaged in approxim ately

   15-17 (tdates-'' During the second interview , M inor V ictim stated that she engaged in

   approxim ately 14 Eidates''atthe direction and arrangem entofBarnes.

          20.    M inor V ictim stated that she w ould spend a 1ot oftim e w ith 'W ick,''KIRLEW ,

   and Barnes. M inor V ictim advised that when she and Barnes w ere having ç'dates'' for

                                                  5
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   com m ercialsex,SçN ick''and K IRLEW w ould be w aiting forBarnes and M inor V ictim to finish

   theçsdatesy''atwhich pointthey would allm eetup.

          M IN OR 2

          21. Contactwasmade with a ls-year-old female (CsMinor2'')during two separate
   interviews on or about August 20, 2020,and on or about December 1, 2020. D uring the

   interviews w ith M inor 2,she stated she m et Barnes w hile M inor 2 w as walking to a nearby

   cornerstore from hergroup hom e in Pom pano Beach.

          22.    On one occasion, Barnes asked M inor 2, and M inor 2's l7-year-old friend

   (çiM inor3'')from thesamegroup home,iftheywantedtomake$150doingM inorVictim'shair
   ata room in the Oakland D ays Inn.M inor2 w as surprised because she knew the Oakland Days

   Inn was associated w ith prostitution. Barnes drove M inor 2 and M inor 3 to the Oakland D ays

   lnn in Barnes'tw o-doorw hite Toyota.

                 W hile driving to the O akland Days lnn,Barnes told M inor2 and M inor 3 notto

   braid M inorV ictim 's hairtoo long because Ssshe's notold enough forthat.''M inor2 understood

   thatto m ean thatthe girlis notGsgrown''and would not look good w ith long braids. W hen they

   gotinto the room ,M inor 2 and M inor 3 began to braid M inor V ictim 's hair. M inor 2 did not

   know M inorV ictim 's nam e,butM inorV ictim told M inor2 that she w as 17 years old. M inor2

   identified aphotographofM inorVictim,asthegirlwhosehairthey braidedon thatday.

                 M inor 2 stated that while in the Oakland D ays Inn hotelroom ,K IRLEW , who

   was called $<M oe,''cam e into the room with anotherm ale.M inor 2 recalled that KIRLEW was

   very talkative so sheturned the volum e louderon the television.K IRLEW tried to engage M inor

   3 w ith a fist-bum p,butM inor3 wasunable to because shew astoo busy braiding M inorV ictim 's



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   hair.K IRLEW then tried to hug M inor2,atw hich pointM inor2 told K IRLEW , &W o,''and that

   shew anted to socialdistance dueto the Coronavirus.

                 KIRLEW said hewasgoingto giveM inor2 and M inor3 each $100,and started
   pulling m oney outofhis pockets,butthen inform ed M inor2 and M inor 3 that since they w ere

   being rudrto him ,he wasno longergoing to givethem the m oney,

          26.    Barnes told M inor 2 and M inor 3 thatK IRLEW w as paying for M inorV ictim 's

   hair.W hen M inor 2 and M inor 3 asked M inor V ictim why KIRLEW w as paying for her hair,

   M inor Victim said K IRI,EW was a close friend.M inor 2 advised she could tellM inor Victim

   was lying.

                 M inor 2 and M inor 3 were uncom fortabie w ith KIRLEW and the other m ale in

   the hotelroom ,so they leftbeforeM inorV ictim 's'hairwasfinished.

          28.    M inor2 described KIRT,EW as a short,black m ale w ith partialdreadlocks. This

   description isconsistentw ith how M inorV ictim and M inor3 described KIRLEW   .



          M INO R 3

          29. Contactwasmade with a l7-year-old female (CdMinor3') during two separate
   interview s on or about Septem ber 10, 2020, and on or about M arch 12, 2021. During the
                                                  '

   interviews,M inor3statedthatshemetBarnesthrough M inor2,wiao wrnttolivewithBarnes
   whileshewasajuvenilerunaway.
          30.    M inor 3 stated that Barnes engaged in sex acts for m oney, w hich she called

   dçlicks.''Barnestold M inor3 thatshe gave M inor2,(ûlike 3 ofm y licks.''M inor2 show ed M inor

   3 variouscellularphone appsthatM inor2 would useto engage in çidates''forherselfand Barnes.

   O n one occasion,w hile M inor2 and M inor3 were in the carw ith Barnes,M inor2 told M inor3



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   that she needed m oney to give to Barnes to pay rent.To do so,M inor 2 called a çilick''who

   picked herup from Barnes'sresidence.

                 M inor 3 stated thatshe m etKIRLEW ,who called him self$CM oe,''atthe Oakland

   D ays1nn on oraboutAugust 1,2020,when M inor2 and M inor3 were braiding M inorV ictim 's

   hair.Atsomepoint,M inor3 leftwith Barnesto retrievemorehairforM inorVictim.W hilethey

   were tem porarily aw ay from the Oakland Days Inn,Barnes told M inor 3 that KIRLEW was

   tdtrying to talk to EMinorVictimq''andthathepaid M inorVictim $150.W hen Minor3 asked
   why KIRLEW gaveM inorVictim $150,Barnesreplied,(Cyou know,stop playingy''which M inor
   3 understood aspaym entforsex.

          32.    M inor 3 leftsom e of her item s atthe Oakland Days Inn and Barnes would not

   return M inor 3's item s untilher and M inor 2 cam e back to finish M inor V ictim 's hair.W hen

   they arrived back atthe Oakland D ays 1nn the following day,KIRLEW gave m oney to M inor3

   forbraiding M inorVictim 'shair.M inor3 alsowitnessedKIRLEW givemoney toM inorVictim .

          33.    On another occasion,M inor 3 recalled thatK IRLEW rented a hotelroom on or

   about August 16,2020,at O cean Beach Palace, located at 4041 N orth Ocean Boulevard,Fort

   Lauderdale,Florida(ttoceanBeachPalace'),forM inor3,Barnes,andanothermale.
          34.    D uring thistim e atthe Ocean Beach Palace,Barnestried to kissM inor3.M inor3

   stated thatBarnes w as supposed to engage in com m ercialsex w ith the otherm ale, and M inor 3

   was supposed to engage in com m ercialsex w ith K IRLEW .U ltim ately,M inor 3 refused Barnes'

   advance and leftthe O cean B each Palace.

                 Follow ing the incident at Ocean Beach Palace, KIRLEW texted M inor 3 at

   varioustim es,and also m essaged heron lnstagram .



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          36.     M inor 3 stated that KIRLEW and Barnes used to be in a relationship. M inor 3

   overheard telephone conversationsbetw een K IRLEW and Barnes,in w hich K IRLEW w ould tell

   Banw sto Ctfsnd som e girls''forhim . M inor3 heard Barnes say to KIRLEW , Stl'm putting you on

   Plays,w hy aren'tyou giving m e m oney?''

                 M inor3 described KIRLEW asa short,black male with partialdreadlocks. This
   description is consistent w ith how M inor Victim and M inor 2 described K IRLEW . M inor 3

   furtheridentified a photograph ofK IRLEW asthe individualshe knew as1$M oe''.

          38.    M inor 3 provided 1aw enforcem entw ith K IRLEW 'S telephone num ber, and also

   show ed law enforcem ent a text m essage conversation between K IRLEW and M inor 3 w hich

   read asfollows:

       KIRT,EW                  W hat'su 1ilbab                  Au ust 18, 2020 2:35 .m .
       K IRLEW                  ?????                            Au ust18, 2020 3:51 .m .

       KIRLEW                  W hat's up                        August21, 2020 (9:55p.m.
                                                                                        )
       M inor3                 N un                              A ugust21, 2020(11:
                                                                                   24p.m.)
       K IRLEW                 Iwantyou w hat'sup                A ugust21, 2020(11:
                                                                                   24p.m.)
                               W hereu atum com e getu


          BARN EF A RREST
                 On or about Decem ber 18,2020,Barnes w as arrested and charged by crim inal

   complaintwith two countsofsex trafficking ofa minor in violation of 18 USC 1591(a)(1),
   (b)(1),and(b)(2),arisingfrom thisinvestigation.
          40.    D uring a vost-M iranda interview w ith Barnes, Barnes stated she m et M inor

   Victim atthe Oakland D ays Inn.Barnes advised thatherdtex-boyfriend,''who she identified as

   ççM oe,''rented a hotelroom atthe Oakland DaysInn, and called Barnes asking herto com e to the

   Oakland D ays 1nn in order to Sshelp w ith a girl's hain''W hen Barnes arrived, M inorV ictim was

                                                  9
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   naked. Barnes stated that M inor V ictim had sex w ith EtM oe'' and ççall his friends.'' Barnes

   inform ed law enforcem ent of ttM oe's'' real first nam e, Cleon, and provided his lnstagram

   usernam e as dçuglyclick.''Barnes stated thatshe believed M inorVictim waseither 12 or 13 years
   old.

                  During the interview,Barnes also provided 1aw enforcement with consent to

   search hercellularphone,A search revealed oneparticularm essage, sentfrom B arnesto M inor3

   on or aboutA ugust 15,2020,stating,::7543179180 callhim now m ole.''2 Further, Barnes had

   thissam enum bersaved in hercellularphone underthe contact, $:M oe''.

          ADD ITION AL INVESTIGATIV E STEPS

          42.     A subpoena w as sent to Facebook for the lnstagram profle w ith usernam e

   GGuglyolick.'' Subpoena returns show ed an em ail associated w ith the account as
   ttc.
      kirlew87@ gmail.com,''which isconsistentwithKIRLEW 'Sfirstinitial,lastname,andyear
   ofbirth.The returns also veritsed the phone num ber associated w ith the accountas K IRLEW 'S

   number.

          43.     Law enforcem ent obtained hotel records from the Oakland Days 1nn w hich

   confirm ed that K IRLEW rented a hotel room at the Oakland Days 1nn from July 31, 2020

   through August 3,2020.A dditionally,the Oakland Days 1nn provided a copy of KIRLEW 'S

   DriverLicense which he used to rentthe hotelroom .

          44.     Subpoenaed records from Barnes' cell phone service prokider revealed

   approxim ately 81 com m unications between Barnes and KIRLEW during the tim e ofthe hotel

   rentalatthe O akland D ays Inn.


   2Law enforcem entconfirmed thisnum berbelongsto IURLEW . Law enforcem entbelievesthatRmole''isatypo and
   thatBarneswasreferringtoRM oe.''

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            45.   On or at
                         nout Decembcr3 l, 202l.làw enforccmentwenlto KIRLEW 'S residcnce

   in Fort.Lauderdalc, Florida, in attelnptto interview IU RLEW . Upon arriving at his residcncex

   K IRLEW wasseen walking away froln the residence. Law enibrcem entcalled out,h%C'leonz''in
        .




   an attem pt to get K IRL EW -s attention. K IRLENV turned and Iooked at the Iaw cnforcem ent

   officers.w llo w ere dressed in identifiable police gear. KIRLESV then ran to a parked vellicle

   aCI-OSS.the street,gotinto the passengerside ofthe vehiile,and the vehicle tled tlle scenc from
   law enforcem entala high rateofspeed.

            46.   On oraboutJanuary l2,202I, a federalsearcllwarrantwas obtained forllistorical

   cell-'
        site infonnation associated with KIRLENV'S phone number(see 2l-&!J-60ll-I-Il.
                                                                                    JNTI.A
   prelilninary cellular analysis of the cell-site information confirmed that the phoni number

   belonging to KIRLE%V utilized the celltllartowers nearesttlle Oakland Days Inn on orarotlnd the

   tim e KIRLEW rented the hotelroom .

                                          C ON CLUSIO N

                  47.    Based on lheforgoing,lrespectfully subnlitthattllere is probable cause to

   support a crim inalcomplaint charging Cleon Kirlew (SSI<IRLEM/'') with one count of sex
   trafficking of a m inor less than 14 years of age,in violation of Title 18, U nited States Code,

   Sections l59l(a)(l),(b)(1),(c),and2.

                                                             A lex G. off.SpecialAgent
                                                             FedcralBureau oflnvestigation


   swom to and subscribed beforem e telephonicaliy this 28thday ofApril,2021.


                        J
     RAN A S.SN O W
   UN ITED STA TES M AG ISTRATE JUD GE
                                                 II
